Joseph vsAr£`Nsa 2:13-cv-01656-.JCC Document 1 Filed 12/10/12 Page 1 of 30

 

UN|TED STATES DISTR!CT COUF\T FE §
NORTHERN DlSTR|CT OF CAL|FORN|A
UEC j 0 2012
R|CHAFID W. WlEK|NG
RhaW“ J°Seph» Pr° 39 Case Numberi . NOH‘YEEEFH§ Hi§+gl§`¥%r°=%i€lé§§~m

677 Elm St. SAN JosE

::;.;;§z§;; C V 1 2 - c 2 5 § n a t

DE|V|AND FOR JUHY TF{|AL

 

Fihawn Joseph, Ph.D
Plaintitf
Pro Se

COMPLA!NT FOR V|OLAT|ON OF
SHER|V|AN ANT|TRUST ACT,

L|BEL, SLANDER, DEFAMAT|ON,
TRADE L|BEL, BHEACH OF CONTF{ACT,
l\/|AL|CE, FRAUD, PEFISONAL |NJURY,
DA|V|AGES, INJUNCT[VE FiEL|EF

 

Amazon.oom, |no., Jetirey P. Bezos,
Defendants

\_/ '~_/'-_r'-_/'-_J'-_/‘-_r\-_/‘-_/'-_/\_r

 

 

`,t
gail

.>`
‘.,

Amafbn.oom, lnc.

F"O BOX 81226

Seaftle, WA 98108-1226
206-266-4064

1. P|aintiff, Rhawn Joseph, Ph.D., an author and publisher, acting on his own beha|f, brings
suit against Defenclants Arnazon.com, lnc. (“Amazon”, or “Amazon.com”) and Jeffery P. Bezos (“Bezos”)
President, Chief Executive Ofiicer and Chairrnan of the Boarcl of Amazon.cem, to obtain injunctive and
monetary relief for detamation, libe|, trade |ibel, slander, malice, fraudr oppression, personal injury,
breach of contract, and ami-competitive antitrust actions including violation of the Sherman Antitrust Act,
15 U.S.C.

2. F’laintiff’s allegations as set forth below are based upon the personal knowledge of
P|aintifi, and on allegations stated as being “on information” and "on beliet,” and those based upon
investigation by Plaintiti and on P|aintitf’s conclusions based on knowledgel intormation, inves`tigation,

and belief. Exhibits in support of these allegations will be provided to the Court.

1

 

 

Joseph VS AHQM 2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 2 of 30

lNTRODUCT|ON

3. P|aintiff is an author and science book publisher whose publishing company has
published the Works of hundreds of soientists, and whose book publishing company relies on “print on
demand technology” in Which copies of a book are only printed when an order has been received from a
consumer or retail bookseller. P|aintiff relies on a company known as LightningSource to print P|aintiff’s
POD books.

4. Print on demand (POD) books are a cost effective means of book production as there is
no need to maintain storage facilities or iarge (expensive) inventories and books can be printed when
orders are receivedl POD books are predominantly sold over the internet and through on|ine
bookstores.

5. Amazon is widely recognized as being the largest oniine (internet) retailer in the world and
markets itself as having “Earth’s Biggest Seiection." Amazon also oiaims to outse|i ali other bookstores
including brick and mortar bookstore chains. Amazon is estimated to control 70% of the retail market for
book sales. Arnazon, as a book seller, therefore has tremendous economic power and is a monopoiy.

6. Arnazon is also a book publisher (i.e. Kindle E-Books, CreateSpace, Amazon Pub|ishing),
and a printer of books and uses its own POD technology and owns a POD printing house,

“BookSurge,” (a subsidiary of Amazon). Amazon, therefore, not only sells the books of its competitors,
but e-books, soft-back books, and hardback books which are published by Amazon. Amazon publishing
includes 7 different companies (imprints) and has made deals with at least two major publishers to
distribute Amazon’s books to brick and mortar book stores. Therefore, Arnazon is in direct competition
with other publishers and authors who have not agreed to publishing or printing contracts with Amazon.
|. Amazon |V|onop_o_inges Print-on-Demand Authors & Publishers

7. Amazon employs illegal and unfair business practices, and its economic, market, and
monopolistic power, to harass, threaten, coerce or force P|aintiff and other authors to print of publish

only with Amazon; to force Plaintifi and other authors and POD publishers to sell directly to Amazon at a

 

 

Joseph VS AHQQ§§ 2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 3 of 30

substantial discount; _to coerce or force P|aintiff and other authors and POD publishers to use Amazon’s
POD printing services; and to damage, libel and defame competitors and independent authors and
publishers including Plaintiff. Amazon’s long term goal is to force Plaintifi and others of this Ciass to do
business only with Amazon according to Amazon’s dictatorial and unfair terms, and has damaged and
will damage and cause them great injury so as to force Plaintiff and others of this Ciass out of business
or to greatly damage their business if they refuse. Amazon has unreasonably restrained trade and has
sought to restrain trade, and this is unlawful per se and a violation of Section 1 of the Sherman Antitrust
Act, 15 u.s.c. § 1.

8. Piaintiff has been directly damaged by Amazon’s illegal business practicesl Amazon has
refused to directly sell books authored or published by the Plaintiff (Exhibits to be provided to the Court)
despite demand for these books; has falsely claimed that books published by Plaintiif are “out of print”
when they are not; has falsely claimed Plaintiff’s books are not available and can only be shipped after
“1 to 3 weeks” or “3 to 6 weeks”; has threatened Plaintiff for publishing books authored and published by
Plaintiff warning that all Plaintiff’s books will be removed from sale (Exhibits to be offered as evidence);
and has publish defamatory attacks on Plaintiff and about P|aintifl’s website (Exhibits to be provided to
Court), and on authors who are not under contract to Amazon while simultaneously deleting positive
reviews or statements of fact about Plaintiff’s books. Amazon and Amazon CEO Bezos have a 5 year
history of targeting, threatening, harassing and damaging P|aintiff.

9. Upon information and beliet, beginning in 2008, Amazon notified POD publishes and
authors, including Plaintiff, that Amazon would only directly sell to consumers POD books that were
printed by Amazon’s printing outlet, BookSurge. On lVlarch 31, 2008, Amazon issued an “Open letter to
interested parties" publicly and explicitly stating that Amazon would penalize authors and publishers who
refused to have their books printed through BookSurge and would stop selling or dramatically reduce the
sales of books printed by other POD printers. Subsequently, Amazon interfered with and dramatically

reduced the sales of P|aintifi’s books and refused to sell books authored by P|aintifi.

 

 

JOSeph VS An§§&e 2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 4 of 30

10. Case in point: When Plaintiff’s published the 4th edition of Plaintiff’s highly acclaimed
neuroscience scholarly text “Neuroscience,” Amazon’s internet web address offering Plaintiff’s book
began receiving thousands of visitors a day. Amazon reacted by falsely claiming Plaintiff’s book was out
of print, and then refused to stock or directly sell the book (Exhibits to be provided as evidence).

11. Amazon’s practice of threatening, interfering with, making false statements about the
availability of, and refusing to directly sell the books of the Plaintiff and other authors and publishers who
use independent POD printing services, and Amazon’s threats that their books sales will be harmed if
they refuse to use BookSurge’s printing services, and this is a violation of Section 1 of the Sherman
Antitrust Act, 15 U.S.C. § i. and constitutes an illegal tying arrangement that has causedl and will
continue to cause, damage to Plaintiif and the Class.

12. Amazon’s unlawful tying arrangement seeks to prevent or punish POD authors and
publishers for selecting more competitive POD printing services which are not as expensive as
BookSurge or CreateSpace and which print better quality books Amazon’s business practices constitute
an unlawful attempt to coerce and force the Plaintifi and other authors and independent publishers to
use only BookSurge’s or CreateSpace printing services despite the higher cost and the inferior books
printed by these Amazon companies.

13. Plaintiff’s highly acclaimed text and other books Amazon refuses to directly sel|, are POD
books printed by Lightingsource, the same POD printer who prints books for thousands of other
publishers who sell or who attempt to sell books through Amazon; a practice Amazon is seeking to
prevent.

l4. Amazon’s practice of punishing and damaging Plaintifi and other authors and publishers
is selective and malicious Amazon’s strategy is to target and slowly kill off small publishers such as the
Plaintiff, and is reluctant to force its will on all publishers for fear that customers will seek these books
from competing book sellers whom Amazon has not yet driven out of business Thus, Amazon’s false

claims about the availability of Plaintiff’s and other authors’ POD books is selective and has nothing to do

 

 

 

JOSeph VSAHQA§Q 2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 5 of 30

with the actual availability of these books but represents Amazon’s business practices of deceit and
dishonesty Specifically, Amazon typically claims it has copies of POD books in stock when lt does not,
as these books have not been printed. Thus, Amazon will state it has (for examp|e) “only 4 copies left,
more on the way_” when in fact Amazon sends customer’s orders to its own POD printer or to a POD
publisher’s printer such as Lightning Source who then prints and ships the book for Amazon. For
example, when a customer orders a POD book which Amazon claims is in stockl Amazon sends the
order to BookSurge or Lightning Source who then prints and ships the books directly to Amazon’s
customers using an Amazon labe|. Thus, when Amazon claims a POD book is not available or cannot
be shipped for “3 to 6 weeks” or refuses to directly sell the book, these claims have nothing to do with
the actual availability of the book but represents Amazon’s policy of selectively targeting independent
authors and publishers including the Plaintiff.

15. As stated, Amazon has warned independent authors and small publishers, including the
Plaintifi, that Amazon will dramatically reduce the sales of or will refuse to order books from their POD
printersl and Amazon has acted on these threats

16. Plaintiff is an independent author and a small POD publisher who sells approximately 800
books a month and who has published the works of hundreds of scientists Amazon, therefore, as a book
publisher and printing service is in competition with Plaintiff, and has maliciously targeted and caused
harm to the Plaintifl as punishment for not using Amazon’s BookSurge POD printing service and other
services such as “Amazon Advantage.” Other members of this Ciass have been injured by Amazon in a
similar fashion
l|. The “Amazon Advantage” ll!|onop_o_ly_D§_n£ges Authors & Publishers

‘|7. Amazon also coerces and seeks to force authors and independent publishers including
Plaintifi, to sell their books directly to Amazon at a significant discount and to pay for all shipping
charges or Amazon will refuse and has refused to directly sell their books and Plaintiff’s books to the

public. Thus, the only way Amazon will guarantee that Amazon will directly offer Plaintiff’s POD books for

 

 

Joseph VS An{§§§§ 2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 6 of 30

sale is via an unfair program called “Amazon Advantage.”

18. The Amazon Advantage program mandates that Plaintifi and other POD publishers)r
authors use Amazon’s shipping notice and official invoice when shipping books to Amazon, and this
requires that books be shipped first from the POD printer to the Plaintifi and then shipped by the Plaintifi
to Amazon (with the official Amazon shipping notice and invoice attached), thereby forcing Plaintifi (and
other POD authors/publishers) to pay twice for shipping charges i.e. from the POD printer to Plaintilf and
from Plaintiif to Amazon. The alternative is for Plaintifi (and other POD authors/publishers) to pay
handling costs to the POD printer which is expensive and cost prohibitive. Specifica||y, Plaintifi must
provide the POD printer with Amazon’s official shipping form and official invoice, and the POD printer
must open the shipping container and insert the invoice and then attach Amazon’s official shipping form,
and then resea| the box and then ship it, all of which directly interferes with the low cost automated way
POD printing and shipping normally occurs Plaintifi and other POD Authors/publishers must also agree
to give Amazon a 55% discount off the retail price. By forcing and coercing Plaintifi (and other authorsir
publishers) to participate in Amazon Advantage program, Plaintifi is forced to sell books at a loss or
minimum profit. For example, Plaintiff’s book “Head |njuries” which sells for $17.00 costs the Plaintifi
47% to print and ship to customers and retailers ($8.05). Under Amazon Advantage Plaintifi would have
to pay up to a 20% ($3.00) handling charge for manually inserting and attaching Amazon’s invoice/
shipping form, 22% to ship to the Plaintifi ($3.80), another 22% for Plaintifi to ship to Amazon ($3.80),
which comes to $14.95. Amazon also demands a 55% discount ($9.35) which in addition to the costs
already numerated comes to a total of $24.30 leaving the Plaintifi with a loss of $7.30. Howeverl
Amazon also refuses to pay for books shipped to Amazon until the books have been sold to a third party,
and thus the Amazon Advantage program requires that Plaintifi (and other authors/publishers) provide
Amazon with these books at a loss or with minimal profit.

19. lf the Plaintifi or other independent POD publishers and authors refuse to use Amazon’s

POD BookSurge or the Amazon Advantage program, Amazon can and will refuse to directly sell their

 

 

Joseph VS Arrf§§(se 2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 7 of 30

books will dramatically reduce the sales of these books and will claim books can’t be shipped for up to
“6 weeks” Plaintifi and other members of this Ciass have been profoundly injured by Amazon’s illegal
business practices which are a violation of the Sherman Act and constitutes an illegal tying arrangement
that has caused, and will continue to cause damage to Plaintifi and the Class.
|l|. “Amazon llllarketplace” Damages Authors and Publishers

20. The only remaining option for Plaintifi and other independent POD publishers and authors
when trying to sell books through Amazon, is to enroll in “Amazon lVlarketplace.” For a fee and
percentage of the sales the Amazon lVlarketplace program allows authors independent publishers
independent vendors and private parties to indirectly sell books indirectly to the public, on a webpage
separate from the main Amazon page listing the book in question. Based on knowledge and belief, only
a small fraction of book sales are effectuated through the “Amazon lvlarketplace” and this is because
Amazon customers prefer to buy from Amazon. Nlore specificaliy, customers are concerned about the
honesty and integrity of these private vendors and book sellers about whom Amazon provides almost no
information; customers are concerned about privacy and the security of their credit cardl email address
and personal information, and are naturally reluctant to provide it to third parties about whom there is
little information provided; customers are concerned about the quality and condition of the books sold by
private vendors and are concerned they may not receive the book as they are dealing with an unknown
vendor where there is almost no identifying information provided by Amazon. in addition, whereas
Amazon offers free shipping programs this option is not available through “Amazon l\/larketpiace.”
|V. Amazon Libels and Defames Plaintifi & independent Authors & Publishers

21. Amazon also uses its monopoly and other unfair business practices to defame and libel
the Plaintifi and other independent authors and independent publishers and regularly publishes and
copyrights defamatory and libelous statements about competitors including Plaintiff. Amazon freely
commits these civil and criminal offenses with impunity because of a 2001 case where the court ruled

that Amazon’s defamatory practices are protected and sanctioned by Section 230 of the

 

,]OSeph VS AHQQ§§ 2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 8 of 30

Communications Decency Act ("CDA”). However, that 2001 ruling is no longer applicable as Amazon
copyrights owns and has sole responsibility for this defamatory content.

22. Specifically, in the case of Schneider v. Amazon.com, lnc. (Case No. 46791-3-|, 31 P.3d
37 ; Wash. Ct. /-\pp.l September 17, 2001) a plaintiff (Schneider) filed suit because of negative,
defamatory statements posted by third parties on Amazon.com's web sitel and because Amazon refused
to remove these libelous statements despite the fact these defamation violated Amazon‘s guidelines
governing such postings. However, the Court ruled that Section 230 of the Communications Decency
Act ("CDA") immunized Amazon.com because Section 230 of the CDA states that "no provider or user of
an interactive computer service shall be treated as the publisher or speaker of any information provided
by another information content provider." The Court held that Amazon was providing a service little
different from a community messenger board where private parties can post messages to each other
and the CDA offered protection under this statute. Thus in 2001, according to the Court, Amazon was a
neutral provider of "interactive computer services”, had no competitive or other interest pro or con in the
posting of these defamatory statements and operated a web site and messenger board on which third
parties could post comments to each other. Second, the content in question was the property of these
third parties and not Amazon and for which Amazon had no legal responsibility and no claim of
ownership And last|y, according to this 2001 ruling, Amazon was immunized from Schneider’s claims
because each premised Amazon‘s liability on its failure to remove offending content originated by others
and which was the property of others and that the failure to remove this material was because of
Amazon’s neutral role as a community messenger board and thus was based on Amazon’s desire to
make this content available to others; a function for which the statute was intended to provide protection.

23. Schneider v. Amazon.com, lnc (2001) is no longer relevant and cannot be applied to
Amazon’s policy of publishing defamatory, libelous statements which have been copyrighted by Amazon
and are the sole property of Amazon who thus takes an owner’s responsibilityl This could be likened to

taking ownership of a dangerous car that is a danger to others refusing to fix it, and then causing

 

JOSeph VS An{§§,§,le 2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 9 of 30

profound injury to others when driving that dangerous car on the street. Amazon’s defense is to say the
car was harmful before Amazon assumed ownership, before Amazon drove it, before it was driven, and
therefore Amazon is not responsible for the damage caused when driven by Amazon even though
Amazon knew it would cause profound injury. Specifically, by copyrighting and claiming ownership, and
then publishing what is in fact Amazon’s property, Amazon becomes responsible for that defamatory
content and the damage it causes Furtherl Amazon publishes defamatory content to damage
competitors and those whom Amazon wishes to harm and who Amazon has threatened to harm.

24. Although Amazon may have operated and offered "interactive computer services” or a
“message board” in 2001, this is no longer true. A. it is well established that Amazon reviewers
including Amazon’s top reviewers are not independent 3rd parties but are associated with and linked to
Amazon who vouches for them and that Amazon is in contact with these reviewers. B. it is well
established that Amazon reviewers have been paid to post positive or negative reviews including attacks
on competitors and as such, these are paid advertisements and constitute Trade Level. C. Amazon has
deleted positive reviews in favor of negative reviews and has removed and deleted positive factual
reviews which refute defamatory statements so that libelous slanderous go unchallenged, and thus not
all third parties can post comments and therefore, not all reviews or comments are made available to
others (Exhibits to be presented as evidence). D. Amazon is not operating a messenger board where
3rd parties can post messages to each other or the public. E. Amazon has directly contacted reviewers
and has asked these reviewers to write reviews which Amazon has published F. Amazon has been in
direct contact with reviewers who post defamatory content and has encouraged and supported the
posting of this defamatory content and has provided these reviewers with content and information not
available to the public. G. Amazon is a book publisher and publishes books and authors whose books
are in competition with those books and authors whom Amazon does not publish and who do not use
Amazon’s publishing or printing services, such as the Plaintiff, and Plaintifi and members of this Ciass

have been defamed and libeled by postings copyrighted and owned by Amazon who is a competitor. i-i.

 

JogephVSA§Q§§;]Z:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 10 of 30

these defamatory reviews have been copyrighted by and are the property of Amazon which assumes
ownership and all the responsibility of ownership.

25. The defamatory, libelous content owned, copyrighted, and published by Amazon is in no
way protected or sanctioned by the CDA. Amazon’s decision about what comments are published are
not editorial function or an editorial discretion which the CDA statute was intended to protect, but are
designed to damage, punish, and defame competitors and independent authors and publishers

26. By publishing defamatory content which Amazon claims as its copyrighted property, and
by engaging in these and other illega|, ami-competitive business practices Amazon seeks to convince
customers that books published by Plaintifi and other competitors are defective or inferior to books and
authors published by Amazon; redirects book buyers to books favored by or published or printed by
Amazon; and thus Amazon uses defamation, libei, to harm those whom Amazon has threatened, and to
expand its monopolistic control over book selling, and to extend that monopoly to include book
publishing and printing.

V. Amazon Associates Program: Fraudl Bait & Switchl Breach of Contract

27. Jeff Bezos Amazon, and top Amazon executives have engaged in a criminal conspiracy
and have used fraud, deception, misrepresentation, and illegal tactics known as “bait and switch” (Title
16--Code of Federa| Fiegulations Part 238), to defraud Plaintifi and other authors small publishers and
the owners of participating websites of billions of dollars via a click through advertising scheme, known
as the “Associates Program.” Amazon Associates Program is supposed to link the customers of authors
book publishers and the Plaintiff, to specific books on the Amazon website, via the internet, Through
these “special links” to Amazon, Plaintifi and others of this Ciass can promote their books on their own
websites and direct customers to Amazon where customers can buy these books in return, and
according to contractl Amazon pays a fee to the Plaintifi or other referral agents when these specific
books are sold.

28. As detailed in Amazon’s Associates Program Operating Agreement: “The purpose of the

10

 

 

J@Seph vsAIQp§elZ:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 11 of 30

Program is to permit you to advertise Products on your site and to earn advertising fees for Qualifying
Purchases (defined in Section 7) made by your end users “Special Links” are links to the Amazon Site
that you place on your site in accordance with this Operating Agreement... Special Links permit accurate
tracking, reporting, and accrual of advertising fees....We will process Product orders placed by
customers who follow Special Links from your site to the Amazon Site....We will pay you advertising fees
on Qualifying Purchases in accordance with Section 8 and the Associates Program Advertising Fee
Schedule. Subject to the exclusions set forth below, a “Qualifying Purchase” occurs when (a) a
customer clicks through a Special Link on your site to the Amazon Site; (b) during a single

Session...” [_ttps:!raffiliata-mpgram.amazon,com!gp!associatesfagreement/]

29. From the outset, Amazon and Bezos failed to abide by the terms of this contract which
was never meant to be a contract at alll but a ruse designed to defraud “associates” and to prevent
“associates” and the Federal Courts from examining evidence indicative of a massive criminal
conspiracy, the central most component of which is the deletion of identifying tags after “end users” are
directed to other products By deleting identifying “specia| links” identifying tags Amazon avoids paying
referral fees when “ender users” buy other products and avoid paying fees even if the “end user”
eventually returns to and then buys the original “special link" product. Plaintifi implores the Court to refer
this matter to the Department of Justice for criminal investigation and prosecution

30. Amazon has defrauded Plaintifi of advertising fees for the sale of other products by
customers (“end users”) sent to them via “special links” by Plaintiff. According to Amazon; “We will
process Product orders placed by customers who follow Special Links from your site to the Amazon
Site...." These “Special Links” including tracking tags however, are deleted if the customer is directed to
another product. lnstead, Bezos and Amazon engaged and engages in bait and switch, and has violated
its agreement with the Plaintifi through the following ruse: Amazon has refused to directly sell books to
customers directed to them by Plaintiff; has falsely informed customers that Plaintiff’s books are not

available, out of print, or can only be shipped after “6 weeks”; has posted defamatory statements about

11

 

 

 

JOSeph VSm§§§g§§l2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 12 of 30

Plaintiff’s books; and has illegally deleted identifying tags and redirected Plaintiff’s customers to other
books and products thereby preventing or reducing the sales of Plaintiff’s books to customers sent to
Amazon by Plaintiff., and then refusing to pay any advertising fees because these customers (“end
users”) bought other products and not the book specified by the link and which Amazon refuses to
directly sell.

31. For example, Plaintiff enrolled in the Amazon Associates Program and established
approximately l,000 links within his websites (which contain hundreds of pages) to books published or
authored by Plaintiff including over 100 links to the 4th edition of his textbook, Neuroscience.
Flegardiess of which book Plaintiff links to, the Amazon “special links” tracking codes includes the
following “Special Links” identifier: “tag=cosmology07-20” which refers to Plaintiff’s "cosmo|ogy'l
advertising account (and not to any specific book). Plaintiff’s book, Neuroscience, was offered for sale at
Amazon in December of 2011. Soon thereafter, Plaintiff published his textbook, “The Frontal, Parietai,
Temporal, Occipital Lobes,” as well as other books Based on knowledge and belief, and the statistical
program within Plaintiff’s websites (e.g. Brainl\/lind,Cosmology), between December of 2011 and
November 2012, over 1 million people visited these websites ot whom approximately 100,000 were
directed to the Amazon website to purchase or to consider purchasing Plaintiff’s books via these
“Special Links” Amazon responded to this tremendous activity and surge of interest by refusing to
directly sell Plaintiff’s bookl Neuroscience and then refused to sell Plaintiff’s other books including The
Frontal... Lobes (Exhibits to be offered as evidence). Plaintiff’s endusers were then redirected by
Amazon, to other books and products listed on other Amazon website pages and the Special Links
“tag=cosmo|ogyO7-20” tracking codes were deleted. Again, according to Amazon; “The purpose of the
Program is to permit you to advertise Products on your site...Special Links permit accurate tracking,
reporting, and accrual of advertising fees....We will process Product orders placed by customers who
follow Special Links from your site to the Amazon Site...” Amazon, by refusing to directly sell Plaintiff’s

books redirects customers to other books and the “Special Links” tracking codes are deleted so that

12

 

Joseph vs A£MZ:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 13 of 30

Amazon can avoid paying advertising fees because endusers bought some other product.

32. Plaintiff had enrolled two separate accounts in the Associates Program, i.e. Brainl\/iind
and Cosmo|ogy. Since 2001 and continuing to the present, Amazon has repeatedly tampered with these
accounts has deleted identifying tags after end users were directed to other products and has refused
to pay for referrals even when end users purchased the products specified by the Special l_inks. Plaintiff
estimates that over the course of the last 10 years nearly 1 million end users have been directed to
Amazon and that Amazon has defrauded Plaintiff of approximately 3 million dollars

33. Based on knowledge and on belief, Amazon employs the same illegal scheme with other
vendors participating in this “Associates” program, and therefore, illegally uses Plaintiff’s website and the
websites of other vendors to direct end-users to books other than the books specified by these special
links deletes identifying tags interferes with books sales and thus cheats Plaintiff and other vendors out
of sales and advertising fees thereby causing Plaintiff and other members of this Ciass to suffer
significant and profound financial losses and other damages Plaintiff estimates that Bezos and Amazon
have defrauded and stolen over 20 billion dollars from “associates” which includes this Plaintiff.

Vl. Amazon is a Monop_o_¢ly in Violation of the Sherman Antitrust Act _

34. Amazon has significant economic market power with a market share of up to 70% of all
book sales This constitutes a monopoly Amazon is not just a book seller, but a POD printing company
and a book publisher whose illegal business practices detailed above, are a direct assault on and a
violation of the Sherman Antitrust act.

35. Upon information and belief, there are thousands of authors and publishers who rely on
POD book printing and publication in the United States, who in the aggregate publish hundreds of
thousands of titles l\/lany of these authors and publishers including this Plaintiff have been threatened
by Amazon, have been warned their book sales will suffer if they do not agree to Amazon’s illegal “tying”
arrangement, and have injured by Amazon’s illegal business practices which if unchecked will continue

to cause even greater injury to the Plaintiff and to other small publishers and authors

13

 

 

JOSeph V5MQM§,Z:13-cv-01858-.]CC Document 1 Filed 12/10/12 Page 14 of 30

PARTIES
36. Plaintiff Fihawn Joseph (“Dr. Joseph”) is an author and POD publisher headquartered in

San Jose, Ca|ifornia. Plaintiff has authored and has published hardback, softcover, and E-books, has
published the work of hundreds of authors and sells approximately 800 books a month.

37. DefendantAmazon.com, lnc. (“Amazon”) is the wor|d’s largest on|ine retailerl transacts
business throughout the United States is headquartered in Seattle Washington, and whose registered
office is 1013 Centre Fioad, Wilmington, County of New Castle, State of De|aware 19805. Defendant
Jeffrey P. Bezos is Amazon’s CEO, President, and chairman of the board.

JURISD|CT|ON AND VENUE

38. This case arises under the Federal antitrust laws Jurisdiction is conferred upon this
judicial district pursuant to 15'U.S.C. §§ 15 and 26, and 28 U.S.C. §§ 1331 and 1337.

39. Venue is proper in this district pursuant to 15 U.S.C. §§ 15, 22, and 28, and 28 U.S.C. §
1391 because Defendant transacts business in this district and Plaintiff (and likely other class members)
operates and has been harmed in this district. Additionally, a substantial part of the interstate trade and
commerce involved and affected by the alleged violations of the antitrust laws was and is carried on in
part within this district. The acts complained of have had, and will have, substantial anti-competitive
effects in this district.

CLASS ACT|ON & PLAiNTlFF’S ALLEGATIONS

40. Plaintiff brings this action pursuant to Ftuie 23(a) and Flules 23(b)(2) and (3) of the Federal
Fiules of Civil Procedure on behalf of himself and is able to adequately represent the Plaintiff’s interests
and this suit before the Federal Court.

41. With the Court’s permission, Plaintiff also brings this action on behalf of all POD authors
publishers and publishing companies in the United States who have had books listed for sale in the
Amazon Bookstore, at any time from February 10, 2008 through the conclusion of trial of this matter (the

“Class” and “Class Period”). The claims of the Plaintiff are typical of the claims of the Ciass and Plaintiff

14

 

Joseph vsm@sa;elZ:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 15 of 30

has no interest adverse to the interest of other members of the Ciass

42. lt is recognized that Plaintiff is completely unable to represent or protect the interests of
the Ciass and would have to retain counsel experienced and competent in the prosecution of complex
class actions Therefore, although at this juncture Plaintiff represents only himselfl Plaintiff asks the
Court to leave open the classification of this action as a Ciass Action suit for at least 90 days thereby
providing competent counsel with sufficient time to study this case and to agree to represent this Ciass.

43. Plaintiff asks the Court to consider the following:

44. Plaintiff’s claims are typical of the claims of the members of the Ciass because Plaintiff
and all Ciass members have been or will be damaged by the same wrongful conduct of the Defendant
alleged herein.

45. There are questions of law and fact common to the Ciass which predominate over any
questions affecting only individual Ciass lVlembers.

46. Ciass treatment will permit the adjudication of relatively small claims by many Ciass
members who could not afford on their own to individually litigate an antitrust claim, and claims of fraud
and breach of contract, against a large corporate defendant Such treatment will permit a large number
of similarly situated persons to prosecute their common claims in a single forum simultaneously
efficiently and without duplication of effort and expense that numerous individual actions would
engender.

M§TlONS __B__EFOR§ THL_QURT

47. Does Amazon’s conduct constitutes an illegal tying arrangement
under the Sherman Act;

A. Whether the conditions Amazon, Amazon Advantage, Amazon BookSurge impose, has
threatened to impose,' and has imposed upon Plaintiff and the Ciass are unfair and improper;

B. Whether Amazon’s conduct has or will cause damage to Plaintiff and

members of the Ciass; and

15

 

 

goseph VS An§a§§ 2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 16 of 30

C. The appropriateness of injunctive relief and the awarding of damages to restrain ongoing
and future violations of the law.

48. Has Amazon engaged in fraud and breach of contract in its administration of Amazon
Associates Programl and;

A. Whether Amazon never intended to abide by the Amazon’s Associates Program
agreementl and if the purpose of the agreement in-itself was criminal, concocted as part of a criminal
conspiracy based on fraud, and if the purpose of this agreement and the Associates Program was to
defraud “associates” of billions of dollars

B. lf Amazon’s Associates agreement was designed, as part of a criminal conspiracy to
shield Bezos’ and Amazon’s criminal conduct from the scrutiny of the Federal Courts.

C. Whether Amazon’s conduct has or will cause damage to Plaintiff and
members of the Ciass; and

D. The appropriateness of injunctive relief and awarding of damages to restrain ongoing and
future violations of the |aw.

E. if this matter should be referred to the United States Justice Department for Criminal
investigation and Prosecuticn.

49. Has Amazon acted maliciously and with oppression and fraud;

A. Whether Amazon’s conduct has or will cause damage to Plaintifi and
members of the Class; and

B. The awarding of damages and the appropriateness of injunctive relief to restrain ongoing
and future violations of the |aw.

50. is Amazon liable for the damages caused to Plaintiff and members of this Ciass by the
defamatory libelous contents copyrighted, owned and published by Amazon.com, and;

A. Whether Amazon’s defamatory libelous conduct has or will cause damage to Plaintiff and

members of the Ciass; and

16

 

 

Joseph v3AI{;M;¢;§Z:13-cv-01858-.]CC Document 1 Filed 12/10/12 Page 17 of 30

B. The awarding of damages and the appropriateness of injunctive relief to restrain ongoing
and future violations of the law. n

51. Has Amazon caused personal injury including pain and suffering;

A. Whether Amazon’s conduct has or will cause damage to Plaintiff and
members of the Class; and

B. The awarding of damages and appropriateness of injunctive relief to restrain ongoing and
future violations of the law.

COUNT l. FIRST CAUSE OF ACTION: TY|NG CLA|N|. VlOLATlON OF SHERN|AN ANTITRUST ACT.

 

52. Plaintiff re-alleges and incorporates by reference each of the allegations set forth in
paragraphs 1 through 51, above.

53. Tying Claim. Amazon, unreasonably restrains trade and this is unlawful per se and a
violation of Section 1 of the Sherman AntitrustAct, 15 U.S.C. § 1.

54. Amazon has reduced the availability of, has made false statements about the availability
of, and has refused to directly sell books authored or published by the Plaintiff, such as “Neuroscience",
“The Frontal... Lobes”, because of A) Plaintiff’s refusal to use Amazon’s POD book publishing subsidiary
BookSurge, and B) Plaintiff’s refusal to provide books to Amazon through its Advantage Program, which
mandates a substantial 55% discount and requires Plaintiff to pay all shipping and handling costs which
would be substantiall and which would cause Plaintiff to suffer losses on every book sold.

55. Amazon also attempts to coerce or force other POD authors and publishers to use
Amazon’s BookSurge for printing services when the costs for using BookSurge are higher than the
costs of and the resulting product is inferior to other POD printing services Amazon has warned it will
stop directly selling books published by other POD printing services and has acted on this threat.

56. Amazon also attempts to coerce or force other POD authors and publishers including the
Plaintiffr to enroll in Amazon’s Advantage Program if they want their books to be directly sold by Amazon.

The Advantage Program is expensive and leaves authors and publishers with minimal profit,

1'7

 

 

Joseph VSAI§}“@)§,QZ:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 18 of 30

57. Through the unlawful acts and practices described above Amazon has harmed the
Plaintiff and this Ciass and has defamed and libeled Plaintiff and other members of this Ciass who do

not sell their books directly to Amazon or who use independent POD services

WHEREFORE, Plaintiff Fihawn Joseph, on his own behalf and on behalf of the putative Ciass prays that
the Court declare, adjudge and decree the following:

A. that the Court grants Plaintiff’s claims for injunctive reliefl and Rule 23(b)(3) of the Federal
Fiules of Civil Procedure with respect to the claims for damages and other monetary relief.

B. that the conduct alleged herein constitutes unlawful tying in violation of Sectlon 1 of the
Sherman Antitrust Act;

C. that Plaintiff is entitled to damages and injunctive relief under the C|ayton Act, 15 U.S.C. § 26,
and other applicable |aw, enjoining Amazon from continuing or engaging in the unfair and anti-
competitive activities alleged herein;

D. that Plaintiff is entitled to damages penalties and other monetary relief provided by the
Clayton Act, 15 U.S.C. § 15, and other applicable law, including treble damages

E. that Plaintiff shall recover their costs of suit, including reasonable attorneys’ fees and pre- and
post-judgment interest;

F. that Plaintiff is entitled to an order requiring full restitution of ali funds acquired from Amazon’s
unfair business practices including funds and earnings obtained through Amazon’s breach of contract
and bait and switch tactics employed in Amazon’s Associates Advertising program.

G. that Plaintiff is entitled to full restitution for lost profits from books which Amazon refused to
directly sell, for books Amazon has claimed are out of printl for books Amazon has claimed cannot be
shipped until “1 to 3 weeks” or for “3 to 6 weeks”

H. that this action may be maintained as a class action pursuant to Flu|e 23(b)(2) of the Federal
Fiuies of Civil Procedure with respect to Plaintiff’s claims for injunctive relief, and Ruie 23(b)(3) of the

Federal Fiules of Civil Procedure with respect to the claims for damages and other monetary reliefl and

18

 

Joseph vs A£aaelz13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 19 of 30

declaring Plaintiff may serve as a representative of the Ciass if competent counsel experienced in the
prosecution of complex class actions becomes attorney of record and acts as counsel for the Ciass;

|. that Plaintiff be granted such other, further and different relief as the nature of the case may
require or as may be determined to be just, equitable and proper by the Court.

COUNT il. SECOND CAUSE OF ACT|ON: l.lBEl.l DEFAiliiATiONl SLANDER, TRADE L|BEL

58. Plaintiff re-alleges and incorporates by reference each of the allegations set forth in
paragraphs 1 through 57. above. Plaintiff also refers the Court to Section |V, paragraphs 21 -26.

59. ln June of 2012, Plaintiff was repeatedly threatened by Defendant Amazon which warned
Plaintiff that Amazon had investigated Plaintiff’s Braianlind.com website which contains hundreds of
pages of articles and chapters on the brain authored by the Plaintiff, advertisements for the numerous
books published or authored by the Plaintiff, and dozens of scientific documentary films which were
produced and narrated by the Plaintiff and which have been viewed over 44 million times Specifically,
Amazon singled out Plaintiff’s Braini\/lind.com website, and warned the Plaintiff Flhawn Joseph (who is
also a publisher) to stop publishing books authored by Rhawn Joseph. in these same emails Defendant
Amazon defamed, libeled and slandered the Plaintiff, and accused Plaintiff Flhawn Joseph of stealing
from Fihawn Joseph, and accused Plaintiff Rhaw`n Joseph of violating the copyright of Flhawn Josephl
and which accused Plaintiff Fihawn Joseph of plagiarizing the works of Fihawn Joseph. Amazon informed
Plaintiff Rhawn Joseph, that as punishment for publishing works authored by Flhawn Joseph, and
because of the BrainMind.com website, Amazon would stop selling Plaintiff Flhawn Joseph’s books

80. Three months |ater, in October of 2012, Amazon published, copyrighted and claimed
ownership of a defamatory libelous slanderous attack on Plaintiff Fihawn Joseph, and attacked
Plaintiff’s website and his book publishing company Plaintifi was defamed by name, and in this
copyrighted publication owned by Amazon, it is falsely claimed that Plaintiff “Rhawn Joseph” is a
“lVleglamaniac,” and it is falsely claimed Plaintiff has no friends knows no editors is an amateur with no

knowledge of modern neuroscience, and has a “high schooi” understanding of neuroscience and head

19

 

Joseph vsAlQass]Z:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 20 of 30

injuries and which also attacks Plaintiff’s website and publishing company while simultaneously praising
Amazon’s publishing company Klnd|e Books. (Exhibit to be offered as evidence). Al| these defamatory
libelous statements are easily disproved defamatory falsehoods

61 . “i\/legiamaniac” is a psychiatric diagnosis also known as “mania” and also classified as
“manic depression" and a “Unipolar” and “Bipolar“ affective and psychotic mental disorder[American
Psychiatric Association‘s Diagnostic and Statistical ivlanual of Nlental Disorders (DS|\/l), World Health
Organization's international Statistical Classification of Diseases and Flelated l-lealth Problems (lSC)}.
l\/leglamaniacs and those suffering from “Meglamania” and other variants of mania suffer from delusions
and hallucinations believe themselves to be god-like, omnipotent, or all-powerful, and are profoundly
insane, psychotic, delusional, and mentally ill, and these “maniacs” are considered a danger to
themselves and to others According to the DS|Vl and lSC, individuals suffering from mania are
delusional, have racing uncontrolled thoughts may go days without sleep, abuse drugs are sexually
irresponsib|e, are easily distracted, are unable to complete tasks display profoundly poor judgement, are
hypersexual, out of controll can’t think rationally act impulsively without concern for consequences and
who require “hospitalization to prevent harm to self or others..." [DS-Ni].

62. Plaintiff is not a “meglamaniac” and does not suffer from “meg|amania” or any other
variant of “mania” or mental or psychiatric disorder. Plaintiff has never been treated for or diagnosed as
suffering from meglamanial unipo|ar or bipo|or disease, or any of the various form of mania or from a
mental illness or psychiatric disorder. Plaintiff does not believe and has never believed himself to be god,
or god-like, or omnipotent, or all powerful.

63. Plaintiff has never written, published, or uttered any statements which would indicate
Plaintiff believes himself to be god, or god-like, or omnipotent, or ali powerful, or that he suffers from any
of the symptoms associated with “meglamania” or “mania.”

64. Plaintiff has twice written Defendants demanding that these published lies be deleted and

removed from the Amazon.com website and has denied that he suffers from “meglamania” or any form

20

 

 

Joseph vsAI§`gaseiZ:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 21 of 30

of “mania" and has denied that he believes he is god, or god-like, or omnipotent, or all powerful. Further
Plaintiff warned he would file suit if these defamatory statements were not deleted [Exhibits to be offered
as evidence].

85. Defendant Amazon.com has twice refused Plaintiff’s demands and has twice (and
subsequently) stated:

“i'm very sorry about any concerns caused by this review and l understand your concerns but
the review doesn't violate our posted guidelines so l'm unable to remove it in its current format.

However, as the author of this title, you can provide feedback about this review by voting or
commenting on it. To vote, click the "Yes" or “No" buttons next to "Was this review helpful to you?" To
comment, click the Comments link at the bottom of the review.

We try to encourage our customers to give their honest opinions on our products while staying
within our guidelines As a retailer we are interested in cultivating a diversity of opinion on our products
Part of that is allowing our customers to air their honest thoughts on items they have received.”

66. Plaintiff Fihawn Joseph is not a “book" or a “product” or an “item” but a private person.

67. Plaintiff does not offer himself or his website for sale at Amazon.com, and there are no
books (e.g. biographies, memoirs) about the plaintiff or his website on sale at Amazon.com or at any
other book store.

68. The title of the book in question is not “Fihawn Joseph” but “Head lnjuries”l and the
subject matter of the book is about head injuries The name “Fihawn Joseph” or “Fihawn” does not
appear on the book cover or inside or anywhere on this book.

69. Defendants deleted factual positive reviews which detailed the history of the “Head
lnjuries” book, earlier versions of which comprised an entire Section of Plaintiff’s scholarly highly
acclaimed neuroscience text; and the reviews Defendants removed included the foliowing:

"One of the most astonishing books of our time." -Bu|letin of Science, Technology & Society”

“An intense, in-depth examination of the relationship between neuroanatomy and associated

21

 

 

Joseph vs A§§§Ql2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 22 of 30

behavior, personality thinkingl psychosis and emotions." 4 Starsi Highiy recommended. -lVledical
Fleview Journa|.

“First rate... Among the best... Deserving of a place on the shelf of any neuropsychologist,
neuropsychlatrist, or behavioral neurologist." -the journal of Neuropsychiatry.

"Excellent... Comprehensive... Exceptiona|... Enthusiastically recommended!" -Health Sciences
Fieview Journal.

“Astounding... astounding... [Joseph] deserves our admiration." -Electroencephalography and
Ciinical Neurophysiology --Eiectroencephalography and Ciinical Neurophysiology.”

“The finest analysis of... brain phenomena that we have to date."- The New England Heview of
Books.

“Joseph is to mind brain studies as Asimov and Sagan are to the physical sciences.“ - Choice.

Defendants deleted and removed positive, factual information so that defamatory statements
would go unchallenged and as such, Defendants demonstrated their intention was to libel, defame, and
slander the Plaintiff.

70. Amazon has repeatedly targeted Plaintiffl Plaintiff’s website, and Plaintiff’s book
publishing company and Amazon has repeatedly engaged in libel, Trade Libel, and has defamed books
published by Plaintiff and whose authors include hundreds of scientists many world famous

71 . Amazon’s defamatory practices are not protected and sanctioned by Section 230 of the
Communications Decency Act ("CDA") and the ruling in the case of Schneider v. Amazon.com, lnc.
(Case No. 46791-3-|, 31 P.3d 37 ; Wash. Ct. App., September 17, 2001) are no longer relevant as
detailed in Section lV, paragraphs 21 -26 of this complaint, and for the following additional reasons:

A. Amazon’s conduct can be likened to Amazon obtaining a loaded gun from a third party
and then pointing that gun at competitors and pulling the trigger. By publishing defamatory statements
Amazon is pulling the trigger, firing the gun, and striking competitors and those who refuse to agree to

Amazon’s illegal tying practices Amazon not only pulls the trigger and fires the gun, but copyrights and

22

 

 

Joseph VSAI§MQ}2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 23 of 30

claims ownership of the bullets

B. Amazon is not “neutral” but has removed and deleted information about the factual history
of the “Head injury” book, and which included positive reviews published in scientific journals and which
refuted the defamatory claim Plaintiff is a “meglamaniac” and which refuted Amazon’s copyrighted claims
that Plaintiff has no “friends” knows “no editors” and is “amateurish” and has no knowledge of modern
neuroscience.

C. As to the October 2012 defamatory claims Amazon employees and legal department,
directly consulted and communicated with the person who offered Amazon the defamatory content
Amazon copyrighted and published Amazon provided this individual with content which was not
available to the public, which Amazon then published This so called “third party” is directly associated
with the Defendants and may be an employee of Amazon . Amazon removed comments which refuted
these defamatory statements and thus Defendants conspired to defame Plaintiff.

72. Defendants published as if it were established medical fact, that Plaintiff was mentally ill,
psychotic, delusional (“rneglamanaic”) and they did so without justification and knowing full weil these
accusations were false, and they did soto cause the Plaintiff harm and have harmed the Plaintiff and this
is actionable [see Ouelimane Co. lnc., v Stewart Title Guar. Co (1998) 19 Cal.4th 26,47; l-loyen v,'
Manhattan Beach City School District (1978) 22 Cal.3d 508; CCC 1708].

73. The posting of Amazon’s copyrighted defamatory statements which defames and libels
the Plaintiff is part of a pattern of malicious conduct the purpose of which is to harm and damage the
Plaintiff who is a competitor, and this is actionable [CPC 125; CCC 43, 48(1)(5), 527.6, 1431 .2, 527.6,
3294(0), CHSC 1527(9)].

74. The Defendants’ malicious odious conduct is not protected by the CDA and meets the
standards of California law and Case law [l\/iariintelli vs lnternational House USA, 181 Cal. App. 4th
1332, t337 (2008)]: "in order for a defendant to be liable for defamation, the defamatory matter must be

'published,1 i.e. communicated to some third person who understands the defamatory meaning and

23

 

 

 

`.1. _. l 1 `

Joseph vs A§asgl2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 24 of 30

application to plaintiff." [(Cunningham vs Simpson, f Cal. 3d 301, 307; Haley v Casa Del Rey
Homeowners Ass'n 153 Cal. App. 4th 863, 877 (2007)].

75. According to California Civil Code 48 "Slander is a false and unprivileged publication,
orally uttered, and also communications by radio or any mechanical or other means which: 3. Tends
directly to injure him in respect to his office, profession, trade or business either by imputing to him
general disqualification in those respects which the office or other occupation peculiarly requires or by
imputing something with reference to his officel profession, trade, or business that has a natural
tendency to lessen its profits; 5. Which, by natural consequence, causes actual damage.

76. Defendants’ actions constituted a malicious intentional publication of false and
unprivileged statements as if they were established medical fact and as if the Plaintiff is profoundly
psychotic, delusional, and incompetent and that his books are therefore written by an insane person; and
Defendants’ published false defamatory libelous claims about Plaintiff’s publishing company about
Plaintiff’s website, about books authored by other scientists and published by Plaintiff; and this meets
Case law requirement for a claim of trade libel and this meets Case law requirement for a claim of trade
libel [lVlann v Quality Old Time Service, lnc. 120 Cal. App. 4th 90, 104 (20040; Leonardi v Shell Oil Co.,
216 Cal. App 3d 457, 572 (19800); 42 U.S.C. § 1983], and for both trade libel and defamation [Franklin v.
Dynamic Details lnc., 16 Cal. App. 4th 375, 384 (2004).; lVlartintelli vs international House USA, 161 Cal.
App. 4th 1332, 1337 (2008); (Cunningham vs Simpson, 1 Cal. 3d 301, 307; Haley v Casa Del Fiey
Homeowners Ass'n 153 Cal. App. 4th 863, 877 (2007)].

77. According to California Civil Code 43, "every person has... the right of protection... from
personal insult, from defamation, and from injury to his personal relations.“ According to California Civil
Code 45, “libei is a false and unprivileged publication by writing, printing, picture, effigy, or other fixed
representation to the eye, which exposes any person to hatred, contempt, ridicule, or obloquy, or which
causes him to be shunned or avoided, or which has a tendency to injure him in his occupationl

78. Plaintiff has been severely and profoundly injured by the slanderous defamatory libelous

24

 

 

 

Joseph VS Al§&sei2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 25 of 30

malicious harassing, and negligent actions of the Defendants and this is actionable {see Quelimane Co.
lnc., v Stewart Title Guar. Co (1998) 19 Cal.4th 26,47; Hoyen v, lVlanhattan Beach City School District
(1978) 22 Cal.3d 508; CCC 1708], and a violation of California Civil Code [CPC 125; CCC 43, 46(1)(5),
527.6, 1431 .2, 527.6, 3294(¢), cHsc 1527(9)].

79. Defendants have caused Plaintiff percuniary damage [Leonardi v Shell Oil Co., 216 Cal.
App 3d 457, 572 (19800], and Plaintiff is entitled to Economic or Special Damages for losses related to
the injuries inflicted which are a result of Defendants’ lies and odious conduct Plaintiff is also entitled to
future damages including those economic and noneconomic damages that Defendants sought to inflict.

80. Plaintiff is also entitled to compensation for emotional distress or psychological injury as a
result of Defendants’ misconductl see Bush v. Lucas, 462 U.S. 367 (1983). Plaintiff is entitled to
noneconomic and general damages and those losses which naturally or necessarily result from this
disgusting conduct. General damages include pain and suffering, loss of enjoyment of life, emotional
distress and mental anguish. Thus Plaintiff is entitled to damages for loss of consortium which relates to
factors such as loss of society loss of respect and loss of enjoyment of life, _s_e_;e N|o|zof v. United
M§, 501 u.s. 301 (1992).

81. Plaintiff is entitled to substantial damages even if the Court believes compensation would

be punitive. See U.S. Supreme Court iVlolzof v. United States 502 U.S. 301, (1992).

WHEREFORE, plaintiff prays forjudgment against defendants and each of them as follows:
82. For Plaintiff Fihawn Joseph, Ph.D. and against Defendants Amazon.com lnc. and Jeffrey

Bezos on the Second Count and Cause of Action for the following:

A. General damages in the amount of 100 million dollars
B. Losses in the amount of 20 million dollars
C. Economic and Special Damages of 100 million dollars
D. Percuniary Damages of 100 million dollars

25

 

Joseph vSAIQM2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 26 of 30

E. Punitive and exemplary damages of 500 million dollars

F. Attorney’s fees
COUNT l|i. TH|FiD CAUSE OF ACTlON: NiALICE, OPPFiESSlONl FRAUD

83. Plaintiff re-alleges and incorporates by reference each of the allegations set forth in
paragraphs 1 through 82, above, and points out Defendants deleted positive reviews

84. Defendants engaged in fraud, oppression, and have acted maliciously and with malice
and are in violation of California Civil Code, 3294. (c)(1) "lVlalice" means conduct which is intended by
the defendant to cause injury to the plaintiffs or despicable conduct which is carried on by the defendant
With a willful and conscious disregard of the rights or safety of others (2) "Oppression" means
despicable conduct that subjects a person to cruel and unjust hardship in conscious disregard of that
person's rights (3) “Fraud" means an intentional misrepresentation, deceit, or concealment of a material
fact known to the defendant With the intention on the part of the defendant of thereby depriving a person
of property or legal rights or otherwise causing injury see also CCCt714. (a), CC03294 9(0)(3)].

85. Fraud. Defendants Bezos and Amazon have defrauded Plaintiff of millions of dollars in
sales and advertising revenuel and others of this class of billions of dollars and they accomplished this
by A) falsely claiming Plaintiff is psychotic and incompetent, B) refusing to directly sell books authored or
published by Plaintiff, C) publishing slanderous defamatory comments about books published by
Plaintiff’s publishing company whose authors include world famous scientists D) falsely informing
customers that books authored or published by Plaintiff were out of print or could not be shipped for “3
weeks” or “6 weeks” and then directing Plaintiff’s “end users” to other books

86. Fraud. Plaintiff draws the Court’s attention to paragraphs 27 through 33. Via “Special
Links” to Plaintiff’s books an estimated 1 million “end users” of Plaintiff’s websites were directed to the
Amazon bookstore and were then redirected by Amazon to other products Amazon removed the
identifying electronic tags when “end users” were directed to other books so that Defendants could

avoid paying Plaintifi fees when “end users” bought other products or even if they returned to buy

26

 

Joseph vs A§asel2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 27 of 30

Plaintiff’s books

87. As required by California Code of Civil Procedure, 452.10 (a)(1,2) Plaintiff estimates that
his economic losses and other losses due to the damage caused by the Defendant's to be over 3 million
dollars and that future damages are estimated to be $100 million.
WHEREFORE, plaintiff prays forjudgment as hereinafter set forth.

88. For Plaintiff Flhawn Joseph, Ph.D. and against Defendants Amazon.com inc. and Jeffrey

Bezos on the Third Count and Cause of Action for the following'.

A. General damages

B Economic and Special Damages

C. Losses and Future Losses in the amount of $100 million.
D Punitive and exemplary damages

E. Attorney’s fees

F. Such other and further relief as the court deems just.

COUNT |V. FOUFiTH CAUSE OF ACTlON: PERSONAL lNJUFiY

89. Plaintiff re-alleges and incorporates by reference each of the allegations set forth in
paragraphs 1 through 88, above.

90. The Defendants had a legal duty of care toward the Plaintiff which is to not cause injury to
the Plaintiff (Hoyen v, l\flanhattan Beach City Schooi District (1978) 22 Cal.3d 508). According to
California Civil Code, 3281. "Every person who suffers detriment from the unlawful act or omission of
another, may recover from the person in fault a compensation therefor in money which is called
damages." According to California Civil Code 1708, "every person is bound, without contract, to abstain
from injuring the person or property of another, or infringing upon any of his or her rights" According to
California Civil Code 1714. (a) "every one is responsible, not only for the result of his or her willful acts
but also for an injury occasioned to another by his or her want of ordinary care or skill in the

management of his or her property or person.

27

 

 

Joseph vs AlQp§ej2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 28 of 30

91. Plaintiff is entitled to compensation for emotional distress or psychological injury as a
result of Defendants’ misconduct. Bush v. Lucas 462 U.S. 367 (1983). Defendants have a 6 year history
of harassing, threatening, attacking, slandering, defaming, and libeling the Plaintiff including interfering
with the sales of his books and refusing to stock his books Defendants published claims that Plaintiff is
psychotic, delusional, and incompetent, are part of a pattern of odious malicious conduct, the purpose of
which was not just to harm Plaintiff but to convince others Plaintiff is incompetent, insane, dangerous
without friends and should be shunned, attacked and avoided Plaintiff, therefore, is entitled to damages
for loss of consortium which relates to factors such as loss of society loss of respect and and loss of
enjoyment of lifel s_e_e lVlolzof v. United States 501 U.S. 301 (1992).

92. Plaintiff is entitled to noneconomic and general damages including losses which naturally
or necessarily result from Defendants’ conduct. General damages include pain and suffering, loss of

enjoyment of life, emotional distress and mental anguish, see Bush v. i_ucas 462 U.S. 367 (1983).

WHEREFORE, Plaintiff prays 1for judgment as hereinafter set forth.

93. For Plaintiff Fihawn Joseph, Ph.D. and against Defendants Amazon.com lnc. and Jeffrey
Bezos on the Fourth Count and Cause of Action for the following:

A. General damages

B Economic and Special Damages

C. Percuniary Damages.

D Punitive and exemplary damages

E Attorney’s fees

F. Such other and further relief as the court deems just.

COUNT V. FlFTH CAUSE OF ACTlON: BA|T & SW|TCH BF{EACH OF CONTRACT

 

94. Plaintiff re-aileges and incorporates by reference each of the allegations set forth in
paragraphs 1 through 93, above.

95. Defendants Bezos Amazon, and other high ranking Amazon executives conspired

28

 

 

JosephvsAIQM2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 29 of 30

together and concocted an illegal, criminal scheme, the Amazon Associates Program, to defraud
“associates” of tens of billions of dollars Defendants’ sought to protect themselves from discovery by
creating a phony “agreement” which was designed to preclude scrutiny or the discovery of this criminal
activity by the courts However, the Federal Court is not party to or bound by this “agreement”, and as
the “agreement” served a criminal purpose and was designed for the explicit purpose of protecting
criminal activity and preventing prosecution in a Court of law, and as the Defendants’ never had any
intention of abiding by this “agreement”, and has the Defendants violated this agreement from the very
beginning, the “agreement” has no binding or legal validity Flather, Amazon’s Associates Program
“agreement” is itself evidence of widespread criminal activity and deserves to be scrutinized by the Court
along with the evidence of widespread, systematic fraud

96. Plaintiff draws the Court’s attention to Section V paragraphs 27 through 33. in summary:
Plaintiff entered into an agreement with the Defendants where Plaintiff directed “end users” via “special
links” to Defendant’s website, in a program known as “Amazon Associates.” Plaintiff and others of this
Ciass were to be paid a fee for each book or product sold, and Plaintiff used this program to sell
Plaintiff’s books via these “special links”

97. The Defendants engaged in breech of contract and violated Federal Law by using a
several illegal methods including an illegal sales tactic known as "bait and switch" (Title 16--Code of
Federal Fiegulations, Part 238). Defendants refused to directly sell Plaintiff’s books to Plaintiff’s end
users falsely claimed Plaintiff’s books were not available or could not be shipped for “1 to 3 weeks” or “3
to 6 weeks”, and then directed Plaintiff’s end users to other books and products and also stripped
identifying tags so that when endusers bought other products Defendants would not have to pay fees to
Plaintiff. Thus the Defendants committed breach of contract [CCC 2711 (1)(a)(b) and were clearly
negligent [CCCt714. (a)], and engaged in fraud [CCC1714. (a), CCC3294 9(c)(3)] as well as a criminal
conspiracy The Plaintiff is entitled to damages due to fraud and breach of contract by the Defendants

98. Plaintiff’s suffered damages and losses because of A) Lost books sales B) Failure to

29

 

 

Joseph vSAIQ@s,s 2:13-cv-01656-.]CC Document 1 Filed 12/10/12 Page 30 of 30

receive advertising fees As required by California Code of Civil Procedure, 452.10 (a)(1,2) Plaintiff
estimates that his economic losses and other losses due to the damage caused by the Defendants’
breach of contract, to be over $3 million dollars
WHEREFORE, Plaintiff prays forjudgment as hereinafter set forth.

99. For Plaintiff Fihawn Joseph, Ph.D. and against Defendants Amazon.com lnc. and
Jeffrey Bezos on the Fifth Count and Cause of Action for the following:

A. General damages

B Economic and Special Damages

C. Percuniary Damages

D

Punitive and exemplary damages

E. Attorney’s fees
F. Such other and further relief as the court deems just.
JUFlY DENIAND

Plaintiff demands a trial by jury on all issues so triable.

Dated 12/9/2012 RHAWN JOSEPH, PH.D.

G_ ZW- Plaintiff;
vEnii=icATioN

i, Rhawn Joseph, Ph.D., am the plaintiff in the above-entitled action. i have read the foregoing complaint
and know its contents The same is true of my own knowledge, except as to those matters that are
alleged in the complaint on information and beiief, and as to those matters l believe them to be true.

l declare under penalty of perjury under the laws of the United States of America and the State of
California that the foregoing is true and correct /

)§/!‘y{ jy[a,:ne] ` /z\-J._\_/"

December 9, 2012 Plaintiff; Fihawn Joseph, Ph.D

30

